        Case 1:17-cv-09554-AKH Document 395 Filed 02/08/21 Page 1 of 1




VIA ECF                                                            February 8, 2021

Hon. Alvin K. Hellerstein
United States District Judge
Daniel Patrick Moynihan United States Courthouse
500 Pearl St., Courtroom 14D
New York, NY 10007-1312

Re:    Geiss v. The Weinstein Company et al., No. 17-cv-9554 (S.D.N.Y.)

Dear Judge Hellerstein,

         Pursuant to Rule 4(B)(ii) of Your Honor’s Individual Practices, Defendant Harvey
Weinstein (“Mr. Weinstein”) respectfully requests permission to file under seal a letter from his
physician in support of Mr. Weinstein’s Motion to Stay his deposition. As grounds therefor, the
letter contains Mr. Weinstein’s confidential health information and describes his current medical
conditions. Mr. Weinstein will file a redacted version of his physician’s letter to the public
docket.


                                                    Respectfully Submitted,


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                                                    Imran H. Ansari, Esq.



CC:    All Counsel of Record (via ECF)

Encl: Letter of Imran H. Ansari, Esq.
      Letter of William Cole, M.D.
